                                                                                          *,lHm..
                                                                                         AUG - 3 2016
                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    ASHEVTLLE      DrvrsroN                             ''"''&ttsFPnr

                                 CRIMINAL NO.: 1: l6cr52-MR

UNITED STATES OF AMERICA                             )
                                                     )         CONSENT ORDERAND
         V.                                          )       JUDGMENT OF FORFEITURE
                                                     )         PENDING RULE 32.2(c)(2)
(3) PAUL RICHARD LUCAS                               )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

       l.       The following property is forfeited to the United States pursuant to 18 U.S.C. $
924 andlor 28 U.S.C. $ 2461(c), provided, however, that forfeiture of specific assets is subject to
any and all third party petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

   .    One Masterpiece Arms, Model Protector II, .380 cal. semi-automatic pistol, serial number
        X2267 and ammunition
   .    One New England Firearms 12 gauge shotgun, serial number 332460 and ammunition
   .    One Raven Arms .25 caliber semi-automatic pistol, serial number 1771442 and
        ammunition
   .    One Sturm Ruger & Company .22 cal. revolver, Serial number 263-24536 and
        ammunition
   .    One New England Firearms, .223 cal. rifle with scope, serial number 245112 and
        ammunition
   .    One Stevens, Model 820,12 gauge shotgun, serial number 131051K and ammunition
   .    One Ruger, Model 10122, .22 cal. rifle with scope, serial number 23448036 and
        ammunition
   .    One Savage, Model 110, .270 cal. rifle with scope, serial number F298632 and
        ammunition
   .    One Stevens, Model 89, .22 cal. rifle, serial number E504166 and ammunition
   .    One F.I.E., Model 5B., 12 gauge shotgun, serial number 372422 and ammunition
   .    One Stevens, Model 62, .22 cal. rifle, serial number L304136 and ammunition
   .    One H&R, Model 922,.22 cal. revolver, serial number AMZ0824 and ammunition
   .    One Marlin, Model 25, .22 cal. rifle with scope, serial number 01306969 and ammunition
   .    One Mossberg, .410 gauge shotgun, serial number T279145 and ammunition
   .    One Browning, .279 rrfle with scope, serial number 137PP17287 and ammunition
   .    One Stevens, Model 1915, .22 cal. rifle, serial number J20l and ammunition
   .    One Marlin, Model 25, .22 cal. rifle, serial number 98648523 and ammunition



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.     One Fab Nat D Armes, .22 cal. rifle, serial number 010016 and ammunition
.     One Marlin, Model 336, .30-06 rifle, serial number ,483693 and ammunition
.     One Winchester, Model 12,12 gauge shotgun, serial number 1442857 and ammunition
.     One Marlin, Model 60, .22 cal. rifle, serial number 162324090 and ammunition
.     One Savage, Model 110, .270 cal. rifle with scope, serial number F707794 and
     ammunition
.    One Savage, Model 116, 7mm magnum rifle with scope, serial number F357782 and
     ammunition
.    One Remington, Model 522, .22 cal. rifle, serial number 3113257 and ammunition
.    One Interarms, Model 22, .22 cal. rifle, serial number 303172 and ammunition
.    One Winchester, Model 190, .22 cal. rifle, serial numberB1537641 and ammunition
'    One Springfield, Model D, .22 cal. rifle, with no identifiable serial number and
     ammunition
'    One Remington, Model Nylon 72, .22 cal. rifle, serial number AJAT and ammunition
'    One Vemey-Carron, Model Snake Charmer 2, .410 gauge single shot shotgun, serial
     number 8332 and ammunition
'    One single shot shotgun with no identifiable manufacturer, model or serial number and
     ammunition
'    One New England Firearms, .410 gauge shotgun, with obliterated serial number and
     ammunition
'    One Ruger, Model Super Blackhawk, .44 magnum, revolver, serial number 8791684 and
     ammunition
'    One Ruger, Model SP101, .357 magnum revolver, serial number 57131399 and
     ammunition
'    One Heritage, Model Rough Rider, .22 cal. revolver, serial number H292522 and
     ammunition
'    One Armi Elli Tanfoglio, Model TA, .22 cal. revolver, serial number 45658 and
     ammunition
'    One Armi Elli Tanfoglio, Model El5, .22 cal. revolver, serial number 67896 and
     ammunition
.    One Colt, Model Commando, .38 special revolver, serial number 9869 and ammunition
.    One RG, Model RGl4, .22 cal. revolver, serial numberL629709 and ammunition
.    One Hi Point, Model C9, 9mm semi-automatic pistol, serial number P1237803 and
     ammunition
.    One Cobra, Model C22M, .22 cal. two shot pistol, serial number 001103 and ammunition
.    One Hi Point, Model JHP, .45 cal. semi-automatic pistol, serial number 4143983 and
     ammunition
.    One Phoenix Arms, Model HP22A, .22 cal. semi-automatic pistol, serial number
     4328222 and ammunition
.    One Remington, Model 870 Express, 12 gauge shotgun, serial number A183796M and
     ammunition
.    One Stevens Arms Westpoint, Model 287N, .22 cal. rifle, with obliterated serial number
     and ammunition
.    One F.I.E., Model SB, 12 gauge shotgun, serial number 373895 and ammunition




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        2. The United States Marshals Service, the investigative agency, andlor the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3. If and to the extentrequired by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
andlor other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attomey's Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2),and the United
States shall have clear title to the property. and shall dispose of the property according to law.

       The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 18 U.S.C. 5 924 and/or 28 U.S.C. S 2461(c). The Defendant hereby waives the
requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in
the judgment against Defendant. If the Defendant has previously submitted a claim in response
to an administrative forfeiture proceeding regarding any of this property, Defendant hereby
withdraws that claim. If Defendant has not previously submitted such a claim, Defendant hereby
waives all right to do .so. As to any firearms listed above and./or in the charging instrument,
Defendant consents to destruction by federal, state, or local law enforcement authorities upon
such legal process as they, in their sole discretion deem to legally sufficient, and waives any and
all right to further notice ofsuch process or such destruction.




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JILL WESTNIIOMLAND ROSE
LINITED STATES ATTORNEY




THONIIAS KENT
Assistant United States Attorncy




PAUL RICHARD LUCAS
Defendant




Attorney for Defendant


Signed this the̲t、 8day ofAugust,2016




                                              United States Magistrate Judge
                                              Westem District of North Carolina




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